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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  CARTER PAGE,

                        Plaintiff,

                   v.                                        No. 20-cv-3460 (DLF)

  JAMES B. COMEY, et al.,

                        Defendants.


                                 NOTICE OF APPEARANCE

        The Clerk of the Court will please enter the appearance of the undersigned as counsel of

record for Plaintiff.

        Respectfully submitted this day February 22, 2023.



                                                   /s/ Gene C. Schaerr
                                                   Gene C. Schaerr
                                                   (D.C. Bar No. 416368)
                                                   SCHAERR | JAFFE LLP
                                                   1717 K Street NW, Suite 900
                                                   Washington, DC 20006
                                                   Tel.: (202) 787-1060
                                                   Fax: (202) 776-0136
                                                   Email: gschaerr@schaerr-jaffe.com

                                                   Counsel for Plaintiff
